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United States of America,                 §
                                          §
                     Plaintiff,           §
                                          §
versus                                    §            Criminal Docket: H-92-200-3
                                          §               USM Number: 60040-079
JEFFRY CERON HERNANDEZ,                   §
                                          §
                     Defendant.           §

              Notice of Eligibility for Sentence Reduction
       The United States Sentencing Commission issued amendments that allow judges to
reduce sentences previously imposed for crack cocaine convictions. The amount of any
reduction is limited to the number of months resulting from a two-level decrease in the
Guideline Offense Level. U.S.S.G. § 2D1.1, U.S.S.G. § 1B1.10. In deciding whether to
reduce a particular sentence, the court must be sure that public safety is not endangered and
that the reimposed sentence is consistent with the law. The court is not reconsidering all
aspects of the original sentence.

        Jeffry Ceron Hernandez is eligible, as of March 3, 2008, for consideration for a
sentence reduction under this retroactive amendment to the Sentencing Guidelines. If any
reduction is granted, the sentence would be reduced by no more than two levels.

     The defendant, the Federal Public Defender, counsel for the United States, and the
Bureau of Prisons, are notified that Jeffry Ceron Hernandez’s sentence is being considered
under the amendments. The court is reviewing information about the defendant, including
his conduct in custody. Any information you want the court to consider must be submitted
in writing, no later than February 29, 2008.

         SIGNED on February 13, 2008, at Houston, Texas.


                                              ______________________________________
                                                         Lee H. Rosenthal
                                                    United States District Judge
